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 5 Attorney for Defendant, RAFAEL GUZMAN

 6

 7

 8                                UNITED STATES DISTRICT COURT

 9                               EASTERN DISTRICT OF CALIFORNIA
10 UNITED STATES OF AMERICA,                          )   Case No. 1:15-CR-00104-AWI
                                                      )
11                  Plaintiff,                        )   STIPULATION AND ORDER
                                                      )   CONTINUING SENTENCING HEARING
12          v.                                        )
                                                      )   Old Date: September 12, 2016
13 RAFAEL GUZMAN,                                     )   Old Time: 10:00 AM
                                                      )   Court: Hon. Anthony W. Ishii
14                  Defendant.                        )
                                                      )   New Date: Tuesday October 11, 2016
15                                                        New Time: 10:00 AM,
                                                          Court: Hon. Anthony W. Ishii
16
            Defendant, RAFAEL GUZMAN is currently set for a sentencing hearing on September 12,
17
     2016. It is hereby stipulated by and between the defendant, through his attorney Salvatore Sciandra
18
     and the Government by and through its attorney Melanie Alsworth that the sentencing hearing be
19
     continued to October 11, 2016 at the hour of 10:00 AM.
20
            The reason for this request to continue the sentencing hearing is that counsel for Mr.
21
     GUZMAN inadvertently agreed to a resetting of the sentencing hearing for September 12, 2016.
22
     Counsel will be unavailable on the currently set date because he will be on the East Coast. For this
23
     reason, counsel respectfully requests that the sentencing hearing be continued to Tuesday, October
24
     11, 2016 at the hour of 10:00 AM.
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     ///
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     ///
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     ///
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       Case 1:15-cr-00104-AWI-SKO Document 170 Filed 08/05/16 Page 2 of 2



 1
     Dated: August 5,2016                                               _/s/Salvatore Sciandra
 2                                                                      Attorney For Defendant
                                                                        RAFAEL GUZMAN
 3

 4

 5 Dated: August 5, 2016                                                PHILIP A. TALBERT
                                                                        Acting United States Attorney
 6
                                                                        By: /s/ Melanie Alsworth
 7
                                                                        Approved by email on 8/5/16
 8                                                                      Melanie Alsworth
                                                                        Assistant U.S. Attorney
 9
10

11
                                                                ORDER
12
               The court has reviewed and considered the stipulation of the parties and good cause
13
     appearing IT IS ORDERED that the Sentencing Hearing in this matter currently set for September
14
     12, 2016 at the hour of 10:00 AM be continued to October 11, 2016 at the hour of 10:00 AM.
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16 IT IS SO ORDERED.

17 Dated: August 5, 2016
                                                            SENIOR DISTRICT JUDGE
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     United States v. RAFAEL GUZMAN
     Stipulation and Order to Continue Sentencing Hearing
     Case No. 1:15 CR 00104 LJO
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